                Case 23-10831-MFW   Doc 987-4   Filed 02/14/24   Page 1 of 5




                                        Exhibit C

                            Combined Budget and Staffing Plan




AMERICAS 126274811
            Case 23-10831-MFW           Doc 987-4     Filed 02/14/24     Page 2 of 5




                            In re Lordstown Motors Corp. et al.
                     White & Case Fee Lookback and Forward Estimate

The Debtors filed their chapter 11 petitions on June 27, 2023. Initially, White & Case estimated
that its fees from the Petition Date through July 31, 2023 (~1 month) would be $1.1 - $1.5 million.
As noted, the estimate was preliminary and subject to substantial revision, including if the chapter
11 cases or other matters proved to be contentious, were shorter or longer than expected, or there
were unforeseen events. On August 23, 2023, White & Case estimated that its fees would be $1.6
- $2.2 million per month for the months of August, September, and October. On or about October
25, 2023, White & Case estimated that its fees would be $1.3 - $1.6 million for October and the
following months for services anticipated to be provided.

The following chart breaks down by project category White & Case’s fees incurred from the
Petition Date through October 31, 2023. Note that this includes both finalized and preliminary
figures as not all fees for such time period have been finalized yet. Note also that this does not
include expenses incurred in relation to the services White & Case is providing.

    No.    Project Category Description                       Hours               Fees
    B01    Asset Analysis, Sale & Disposition                 1,061.6        $1,418,834.00
    B02    Automatic Stay Issues                               185.4          $208,792.00
    B03    Avoidance Actions & Other Asset Recovery              0.0             $0.00
    B04    Business Operations, Vendor & Utility Issues         63.2           $85,210.00
    B05    Case Administration                                  93.4           $94,841.00
    B06    Case Strategy                                       141.3          $207,441.00
    B07    Claims Administration & Objections                  244.4          $311,358.00
    B08    Corporate Advice & Board Meetings                    83.2          $133,373.00
    B09    Creditor Meetings & Statutory Committees            249.6          $287,232.00
    B10    Disbursement                                          0.0             $0.00
    B11    Discovery                                             0.0             $0.00
    B12    Exclusivity, Plan & Disclosure Statement            951.1         $1,329,198.00
    B13    Executory Contracts & Unexpired Leases              144.1          $178,552.00
    B14    First Day Pleadings                                 173.2          $227,243.00
    B15    Hearings & Court Matters                             246           $367,702.00
    B16    Insurance Issues                                     66.4           $82,754.00
    B17    Litigation                                         1,121.2        $1,543,715.00
    B18    Nonworking Travel                                     0.0             $0.00
    B19    Professional Retention & Fees – W&C                  64.8           $73,935.00
    B20    Professional Retention & Fees – Other               129.6          $161,219.00
    B21    Reports, Schedules & U.S. Trustee Issues            291.9          $395,757.00
    B22    Tax Issues                                           54.6           $71,579.00
    B23    Employee Issues                                      83.2          $113,277.00
           GRAND TOTAL                                        5,448.2        $7,292,012.00
             Case 23-10831-MFW          Doc 987-4      Filed 02/14/24     Page 3 of 5




Looking forward, White & Case estimates its fees will be $1.3 - $1.6 million for November and
the following months for services anticipated to be provided. We expect that approximately three-
fourths of the legal spend will be related to either the chapter 11 plan and solicitation thereof,
employee matters, claims matters, or litigation matter (which may vary). Below is a chart
illustrating how estimated legal spend might break down by project category.

  No.    Project Category Description                    Hours            Fees
  B01    Asset Analysis, Sale & Disposition             [14-19]      $16,000-$20,000
  B02    Automatic Stay Issues                            [0]              $0
  B03    Avoidance Actions & Other Asset Recovery         [0]              $0
  B04    Business Operations, Vendor & Utility Issues [101-126]     $112,000-$138,000
  B05    Case Administration                            [18-23]      $20,000-$25,000
  B06    Case Strategy                                  [32-41]      $36,000-$45,000
  B07    Claims Administration & Objections            [186-230]    $205,000-$252,000
  B08    Corporate Advice & Board Meetings              [12-16]      $14,000-$17,000
  B09    Creditor Meetings & Statutory Committees         [0]              $0
  B10    Disbursement                                     [0]              $0
  B11    Discovery                                        [0]              $0
  B12    Exclusivity, Plan & Disclosure Statement      [297-366]    $327,000-$402,000
  B13    Executory Contracts & Unexpired Leases          [2-4]        $3,000-$4,000
  B14    First Day Pleadings                              [0]              $0
  B15    Hearings & Court Matters                       [60-76]      $67,000-$83,000
  B16    Insurance Issues                                 [0]              $0
  B17    Litigation                                    [238-293]    $262,000-$322,000
  B18    Nonworking Travel                                [0]              $0
  B19    Professional Retention & Fees – W&C            [20-27]      $23,000-$29,000
  B20    Professional Retention & Fees – Other           [5-7]        $6,000-$7,000
  B21    Reports, Schedules & U.S. Trustee Issues       [37-46]      $41,000-$50,000
  B22    Tax Issues                                      [3-5]        $4,000-$5,000
  B23    Employee Issues                               [149-183]    $164,000-$201,000
         GRAND TOTAL                                  [1174-1462] $1,300,000-$1,600,000

The above estimates, project categories, and estimates by project categories are subject to
substantial revision, including if the chapter 11 cases or other matters prove to be contentious, are
shorter or longer than expected, or there are other unforeseen events. White & Case notes that
chapter 11 cases and other matters can involve significant uncertainty, which makes it inherently
difficult to predict the full scope and magnitude of services that will be provided.
               Case 23-10831-MFW               Doc 987-4        Filed 02/14/24        Page 4 of 5




                                   In re Lordstown Motors Corp. et al.
                                       White & Case LLP Staffing

Included below is White & Case’s current staffing plan for advising Lordstown Motors Corp. and
certain of its affiliates as debtors and debtors-in-possession (collectively, “Debtors”) in their
chapter 11 cases. Representing Debtors generally requires the work of lawyers across several
practice areas, including financial restructuring and insolvency, corporate/M&A, litigation, tax,
and others. Additional expertise may also be required depending upon the circumstances and
events in the particular chapter 11 case, which cannot be predicted with certainty.

The staffing plan below, therefore, represents only White & Case’s current best estimate of certain
of the lawyers who will be materially involved during the chapter 11 cases. The staffing plan is
subject to substantial change, and additional or fewer attorneys may become involved as
circumstances dictate. It is also anticipated that the level of involvement of the listed and unlisted
attorneys will vary depending upon the circumstances.

Thomas E Lauria (Financial Restructuring & Insolvency) will lead White & Case’s representation
of the Debtors with the assistance of other partners, counsel, associates, and paraprofessionals,
including, without limitation, partners Jason Zakia (Commercial Litigation), Gregory Pryor (M&A
- Corporate), and David Turetsky (Financial Restructuring & Insolvency).

From the Petition Date through October 31, 2023, White & Case has billed or expects to bill the
following number of timekeepers:

          Category                Jul.1 Aug. Sep. Oct. Average      Range of
                                                       Hourly Rate Hourly Rates3
                                                                  2

          Partners                  8     9    9    8     $1,522    $1,370 - $2,100
          Counsel                   2     2    1    2     $1,227        $1,310
          Associates               12    14   12   11      $932      $740 - $1,270
          Paraprofessionals4        1     1    1    2      $391       $215 - $640

For November and thereafter, we expect staffing levels to remain the same or fall slightly. Going
forward, we expect that the following timekeepers are likely to provide services on this matter.




1
  Petition Date through July 31, 2023
2
  The Average Hourly Rate was calculated by dividing the total dollar amount invoiced by the total number of hours
invoiced for all U.S. timekeepers to all restructuring matters invoiced from June 1, 2022 through May 31, 2023.
3
  The Range of Hourly Rates represents the rates of all U.S. timekeepers with the Firm for calendar year 2023, and is
not necessarily limited to those U.S. timekeepers who may work on the matter nor does it reflect the rates charged by
timekeepers located outside the U.S.
4
  This category may include certain staff who have passed the bar, but whom the firm bills at paraprofessional rates.
          Case 23-10831-MFW      Doc 987-4     Filed 02/14/24    Page 5 of 5




Title            Name                  Group                                   Rate
Partner          Thomas E Lauria       Financial Restructuring & Insolvency    $2,100
                 David Dreier          Tax Practice                            $1,950
                 Gregory Pryor         M&A - Corporate                         $1,950
                 Jason Zakia           Commercial Litigation                   $1,750
                 David Turetsky        Financial Restructuring & Insolvency    $1,750
                 Roberto Kampfner      Financial Restructuring & Insolvency    $1,590
Counsel          Fan He                Financial Restructuring & Insolvency    $1,310
                 Jesse Green           Commercial Litigation                   $1,310
Associate        Doah Kim              Financial Restructuring & Insolvency    $1,270
                 Stephen E. Ludovici   Financial Restructuring & Insolvency    $1,240
                 RJ Szuba              Financial Restructuring & Insolvency    $1,140
                 Sequoia Kaul          Commercial Litigation                   $1,060
                 Livy Mezei            Financial Restructuring & Insolvency    $1,020
                 Coleman Saunders      Commercial Litigation                   $960
                 Peter Strom           Financial Restructuring & Insolvency    $960
                 Aditi Padmanabhan     Commercial Litigation                   $740
Paraprofessional Deanna Hirshorn       Financial Restructuring & Insolvency    $380
                 Katie Wick            Financial Restructuring & Insolvency    $380
